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BEFORE THE UNITED STATES JUDICIAL PANEL
ON MULTIDISTRICT LITIGATION

IN RE: Oral Phenyledrine Litigation MDL No. 3089
SCHEDULE OF RELATED ACTIONS

Plaintiffs Defendants District Civil Action Judge
No.
1. | Darrell Wayne | Reckitt Benckiser, | N.D. 3:23-cv-24588 | Judge M. Casey
Grimsley, Jr. LLC Florida Rodgers

Magistrate Judge
Hope T. Cannon

2. | Joy Taylor Procter & Gamble | N.D. 3:23-cv-4909 | Judge Jacqueline S.

Company California Corley

